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1    CAHILL GORDON & REINDEL LLP
     JOEL KURTZBERG (admitted pro hac vice)
2    FLOYD ABRAMS (admitted pro hac vice)
     JASON ROZBRUCH (admitted pro hac vice)
3    LISA J. COLE (admitted pro hac vice)
     32 Old Slip
4    New York, New York 10005
     Telephone: 212-701-3120
5    Facsimile: 212-269-5420
     jkurtzberg@cahill.com
6
     DOWNEY BRAND LLP
7    WILLIAM R. WARNE (Bar No. 141280)
     bwarne@downeybrand.com
8    MEGHAN M. BAKER (Bar No. 243765)
     mbaker@downeybrand.com
9    621 Capitol Mall, 18th Floor
     Sacramento, CA 95814
10   Telephone: 916-444-1000
     Facsimile: 916-520-5910
11
     Attorneys for Plaintiff X Corp.
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13
                            UNITED STATES DISTRICT COURT
14
                           EASTERN DISTRICT OF CALIFORNIA
15
                                 SACRAMENTO DIVISION
16

17
     X CORP.,                              No. 2:23-cv-01939-WBS-AC
18
                    Plaintiff,
19
           v.                              ORDER GRANTING STIPULATION TO
20                                         CONTINUE THE STATUS CONFERENCE
     ROBERT A. BONTA, Attorney             AND FOR AN EXTENSION OF TIME TO
21   General of California, in his         FILE A JOINT STATUS REPORT
     official capacity,
22
                    Defendant.
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     ORDER GRANTING STIPULATION TO           1
     CONTINUE THE STATUS CONFERENCE
     AND FOR AN EXTENSION OF TIME TO
     FILE A JOINT STATUS REPORT
      Case 2:23-cv-01939-WBS-AC Document 37 Filed 12/28/23 Page 2 of 2


1          The     Court,   having     considered   the   Parties’   stipulation,

2    hereby grants the Parties’ request and ORDERS that the Status

3    (Pretrial Scheduling) Conference currently scheduled for January

4    16, 2024, shall be continued to February 26, 2024 at 1:30 p.m.

5    The Parties’ deadline to file with the Court a Joint Status

6    Report is continued to February 12, 2024.

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8    IT IS SO ORDERED.

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     Dated:      December 28, 2023
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     ORDER GRANTING STIPULATION TO             2
     CONTINUE THE STATUS CONFERENCE
     AND FOR AN EXTENSION OF TIME TO
     FILE A JOINT STATUS REPORT
